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                                                 June 1, 2020

The Honorable Maryellen Noreika
United States District Court
For the District of Delaware
Federal Building, Room 4324
844 N. King Street
Wilmington, DE 19801-3555

      Re:          Lord Abbett v. Navient Corp., No. 1:16-cv-00112-MN (D. Del.)

Dear Judge Noreika:

       Further to the Stipulation To Suspend Deposition Discovery And Amend Scheduling Order
dated April 30, 2020 (D.I. 148), we write on behalf of all Parties to provide the Court with an
update concerning discovery in the above-captioned case.

        The Parties have agreed in principle that depositions in this case should start going forward,
but are engaged in ongoing discussions about the specific timing, as well as negotiating a stipulated
protocol for conducting remote depositions given the national health emergency caused by the
COVID-19 virus and resulting pandemic. The Parties also agree in principle that, in light of the
ongoing pandemic, the schedule in this Action will require further adjustment, but are likewise
engaged in continuing discussions concerning the specific timing.

            The Parties will provide an update to the Court on these issues by this Friday, June 5.

                                                  Respectfully submitted,

                                                  /s/ Christopher M. Foulds

                                                  Christopher M. Foulds
                                                  (Bar No. 5169)

cc:         Clerk of Court (via hand delivery)
            All Counsel of Record (via NextGen)




{FG-W0466371.}
